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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLORADO
                                       Chief Judge Marcia S. Krieger

   Civil Action No. 11-cv-01787-MSK-MJW

   TATONKA CAPITAL CORPORATION,

                   Plaintiff,

   v.

   TRILLION PARTNERS, INC.,

                   Defendant.


        ORDER GRANTING UNOPPOSED MOTION FOR ORDER APPROVING THE
    RECEIVER’S FINAL REPORT, DISCHARGING THE RECEIVER, AND TERMINATING
                              THE RECEIVERSHIP


           The Unopposed Motion for Order Approving the Receiver’s Final Report, Discharging the

   Receiver, and Terminating the Receivership (the “Motion to Terminate”) (#120) filed by Byron P.

   Smyl, in his capacity as receiver (the “Receiver”) of all of the operations and assets of Trillion

   Partners, Inc. (“Trillion”) having come before me, due notice having been provided to all interested

   parties, upon the determination by this Court that no hearing is necessary since the Motion to Reopen

   was filed as an unopposed motion,

           IT IS THEREFORE ORDERED:

           1. The Motion to Terminate is GRANTED.

           2. The abandonment to Trillion of its right to redeem the Tower Site (as defined in the

   Receiver’s Final Report) for unpaid taxes is approved.

           3. The Receiver’s Final Report is approved.

           4. The Receiver is discharged as the court-appointed receiver for Trillion’s assets. As

   provided in the Order Granting Motion to Appoint Receiver (the “Appointment Order”) (Dkt.
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   No. 23), the liability of the Receiver and his Advisors (as defined in the Appointment Order),

   agents, representatives, employees, affiliates, successors and assigns for any and all causes of

   action, claims, demands, damages, fees, costs, expenses, charges, injuries, losses, and complaints

   of whatsoever kind or nature incurred or arising from their respective acts or omissions in

   connection with Trillion, the Appointment Order, the Receivership established pursuant to the

   Appointment Order, and the Receivership Assets shall exist only to the extent that this Court

   determines by a final and non-appealable judgment that such acts or omissions resulted solely

   from such person's bad faith or gross negligence. Except as provided herein, the Receiver and his

   Advisors, agents, representatives, employees, affiliates, successors and assigns are hereby

   released and discharged of and from any and all liabilities, causes of action, claims, demands,

   damages, fees, costs, expenses, charges, injuries, losses, and complaints of whatsoever kind or

   nature, whether known or not known, suspected or unsuspected, or whether asserted or could

   have been asserted, arising from, as a result of, or in any way connected with Trillion, the

   Appointment Order, the Receivership established pursuant to the Appointment Order, and the

   Receivership Assets.

          5. As further provided in the Appointment Order, the Court shall retain sole and

   exclusive jurisdiction of all matters concerning Receiver, the Receivership created hereby, and

   the Receivership Assets (as defined in the Appointment Order). Any and all actions which affect

   Receiver or the Receivership Assets shall be brought in this Court, and any attempt to collect

   from any Receivership Assets must be brought in this Court. Any judgment entered against the

   Receiver shall not be valid unless approved by this Court.



          6. The Receivership is terminated with prejudice.
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        DATED this 28th day of July, 2016.

                                             BY THE COURT:




                                             Marcia S. Krieger
                                             Chief United States District Judge
